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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV00072
   Sines, et al                                             Date: 2/21/2019
   vs.                                                      Judge: Joel C. Hoppe, USMJ
                                                            Court Reporter: H. Wheeler/FTR
   Kessler, et al
                                                            Deputy Clerk: Heidi N. Wheeler



   Plaintiff Attorney(s)                            Defendant Attorney(s)
   Gabrielle Tenzer ( Michael Bloch, Yotam          James Kolenich
   Barkai)                                          John DiNucci
   David Milles                                     Bryan Jones
                                                    David Campbell



                                      LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                            DEFENDANT:
   1.                                               1.



  PROCEEDINGS:
  TELEPHONIC DISCOVERY HEARING                 3:06-3:34= 28 min

  Court addresses motions by Stern and Schoep. A hearing will be set next week.

  Court will take up the issues in the Tenzer email starting with the Third Party Vendor.

  Documents- deadlines for production/procedures for disputes discussed.

  Twitter accounts addressed

  Issue of schedule discussed.
